  Case 2:07-md-01873-KDE-MBN Document 14480-4 Filed 06/22/10 Page 1 of 3




                               UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

                                  NEW ORLEANS DIVISION



IN RE: FEMA TRAILER                                          MDL NO. 07-1873
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION                                         SECTION N-5
                                                             JUDGE ENGELHARDT
                                                             MAG. JUDGE CHASEZ

THIS DOCUMENT RELATES TO ALL CASES

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                        FIFTH SUPPLEMENTAL AND AMENDED
                        ADMINISTRATIVE MASTER COMPLAINT


       Plaintiffs, through undersigned counsel, respectfully supplement and amend their

Original, First, Second, Third, and Fourth Supplemental and Amended Administrative Master

Complaints, herein, by seeking to substitute the following paragraphs in place of Paragraphs 121

– 123 of the Third Supplemental and Amended Administrative Master Complaint under Section,

III, Jurisdiction and Venue:


       121.    The Administrative Master Complaint is a procedural device meant to aid in the

               efficiency and economy of this MDL as a whole. Accordingly, the AMC does not

               purport to override the venue allegations in the underlying, individual cases.

       122.    Pursuant to 28 U.S.C. §1391 the proper venue of the underlying, individual cases

               is in the district in which a substantial part of the negligent and wrongful acts of

               the defendant occurred.
  Case 2:07-md-01873-KDE-MBN Document 14480-4 Filed 06/22/10 Page 2 of 3




       123.    Pursuant to 28 U.S.C. §1391 (e) the proper venue of the underlying, individual

               cases is the district in which the individual plaintiffs reside and/or the acts and

               omissions of the United States of America as to certain plaintiffs occurred.



       WHEREFORE, plaintiffs respectfully supplement and amend their Original, First,

Second, Third, and Fourth Supplemental and Amended Administrative Master Complaints in the

foregoing respects, and they otherwise reiterate and re-aver all of the allegations, claims and

prayers for relief contained therein.

                                        Respectfully submitted:

                                        FEMA TRAILER FORMALDEHYDE
                                        PRODUCT LIABILITY LITIGATION

                                        BY:    s/Gerald E. Meunier
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  Case 2:07-md-01873-KDE-MBN Document 14480-4 Filed 06/22/10 Page 3 of 3




                                          COURT-APPOINTED PLAINTIFFS’
                                          STEERING COMMITTEE
                                          ANTHONY BUZBEE, Texas # 24001820
                                          ROBERT BECNEL, #14072
                                          RAUL BENCOMO, #2932
                                          FRANK D’AMICO, #17519
                                          MATT MORELAND, #24567
                                          LINDA NELSON, #9938
                                          DENNIS REICH, Texas #16739600
                                          MIKAL WATTS, Texas # 20981820

                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on June 22, 2010.

                                          /s/Gerald E. Meunier _
                                          GERALD E. MEUNIER
